         Case 1:25-cv-00286-RCL         Document 20       Filed 02/04/25      Page 1 of 2




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

JANE DOE; MARY DOE; SARA DOE,

                       Plaintiffs,

v.
                                                      Case No.: 1:25-cv-00286
JAMES R. MCHENRY III, in his official
capacity as Acting Attorney General of the
United States; and WILLIAM LOTHROP, in
his official capacity as Acting Director of the
Federal Bureau of Prisons,

                       Defendants.


                                        NOTICE OF ERRATA

         Plaintiffs Jane Doe, Mary Doe, and Sara Doe, herein corrects the Complaint filed, as ECF

001, pursuant to LCvR.5.1(c), and attaches the corrected pages 1, 4, 5, 8, 11, 13, 15, and 21 of

the Complaint with the updated reference to Executive Order 14168 instead of Executive Order

14166.

Dated: February 4, 2025                       Respectfully submitted,

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Case 1:25-cv-00286-RCL   Document 20      Filed 02/04/25    Page 2 of 2




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